Case 5:14-cv-02171-JGB-SP Document 95 Filed 02/07/19 Page 1 of 2 Page ID #:1501



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   19
                                   UNITED STATES DISTRICT COURT

   20
                               CENTRAL DISTRICT OF CALIFORNIA

   21                                            Case No.14-2171-JGB-SP
   22   DAN MCKIBBEN, et al.,                    [Hon. Jesus G. Bernal]
   23                   Plaintiffs,               FURTHER NOTIFICATION OF
        vs.
   24                                             ADDITIONAL LATE CLAIM AND
        JOHN MCMAHON, et al.,                     REQUEST FOR REVISIONS TO
   25
                                                  THE FINAL APPROVAL ORDER
   26                   Defendants
                                                 Date:      February 11, 2018
   27                                            Time:      9:00 A.M.
   28                                            Place:     Courtroom 1
Case 5:14-cv-02171-JGB-SP Document 95 Filed 02/07/19 Page 2 of 2 Page ID #:1502



    1         Mr. Joe Raymond Fierro is a verified class member who, due to no fault of
    2   his, has never received a claim form. He has learned of the class settlement and has
    3   requested a claim form, which the Class Administrator has now sent to him. It is
    4   requested that the Final Approval Order deem Joe Raymond Fierro to have filed a
    5   timely claim.
    6
              As noted in our previous Notice of Late Claims, Plaintiffs are not currently
    7
        submitting a revised proposed Final Approval Order at this time. If, at the February
    8
        11 hearing, the Court approves these proposed provisions to the Final Approval
    9
        Order, and the Court intends to enter a version of the Final Approval Order
   10
        Plaintiffs submitted, Plaintiffs will submit a final version of the proposed Final
   11
        Approval Order.
   12
        Dated: February 7, 2019                 Respectfully submitted,
   13
                                                Kaye, McLane, Bednarski & Litt, LLP
   14
                                                The ACLU of Southern California
   15
                                                By:_________________________
   16
                                                     Barrett S. Litt
   17                                                Attorneys for Plaintiffs
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